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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                v.                             :        CASE NO. 21-CR-507 (PLF)
                                               :
STEPHANIE MARYLOU BAEZ,                        :
                                               :
                                               :
                       Defendant.              :


                         JOINT PROPOSED SCHEDULING ORDER
   1. TRIAL. A bench trial in this matter will commence on May 8, 2022, at 10:00 a.m. in

Courtroom 29 in the William B. Bryan Annex to the E. Barrett Prettyman Courthouse with opening

statements and will continue each weekday at 10:00 a.m. until concluded.

   2. STATUS CONFERENCE. A status conference will be held on November 4, 2022, at 2:00

p.m., via Zoom videoconference.

   3. FINAL PRETRIAL CONFERENCE. The final pretrial conference will be held on April

21, 2023, at 10:30 a.m. via Zoom videoconference. The Court will rule on any objections to

proposed exhibits, see infra ¶ 10, to the extent possible at the pretrial conference, hearing argument

as necessary.

   4. MOTIONS TO SUPPRESS. Pursuant to the previous Scheduling Order (ECF No. 26), any

motions to suppress statements or tangible evidence were filed on or before September 2, 2022.

Any oppositions to motions to suppress were filed on or before September 16, 2022, and any

replies in support of motions to suppress were filed on or before September 23, 2022. The Court

will hear any witness testimony, consider non-testimonial evidence, and hear oral argument on any

motions to suppress on November 10, 2022, at 10:30 a.m. If witness testimony will be required,




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the Court will convene an in-person or hybrid hearing. Otherwise, the Court will convene via Zoom

videoconference.

   5. PRETRIAL MOTIONS. Pursuant to the previous Scheduling Order (ECF No. 26), any

pretrial motions raising purely legal issues – including but not limited to motions to dismiss the

case and motions for change of venue – were filed on or before September 16, 2022. Any

oppositions to any such pretrial motions were filed on or before September 30, 2022, and any

replies in support of such pretrial motions were filed on or before October 7, 2022. The Court will

hear any argument on any such pretrial motions on November 10, 2022, at 10:00 a.m. via Zoom

videoconference.

   6. EXPERT WITNESSES. The parties shall disclose any expert witnesses accompanied by a

brief description of each witness’s area of expertise and expected testimony on or before March

17, 2023.

   7. MOTIONS IN LIMINE AND DAUBERT MOTIONS. Any motions in limine and Daubert

motions shall be filed on or before March 17, 2023. Oppositions to any such motions shall be filed

on or before March 31, 2023, and any replies in support of such motions shall be filed on or before

April 5, 2023. The Court will hear any argument on any motions in limine and Daubert motions

on April 17, 2023, at 2:00 p.m. If witness testimony will be required to resolve any Daubert

motions, the Court will convene an in-person or hybrid hearing. Otherwise, the Court will convene

via Zoom videoconference.

   8. RULE 404(B) NOTICE. The United States shall provide notice to Ms. Baez of any

evidence it intends to offer pursuant to Rule 404(b) of the Federal Rules of Evidence on or before

March 31, 2023.




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   9. BRADY AND GIGLIO EVIDENCE. The United States is under a continuing and ongoing

obligation to provide defense counsel any favorable or exculpatory information (Brady) as it

becomes available, whether it is admissible or not. Brady information must be disclosed on a

rolling basis as “the duty to disclose is ongoing.” Pennsylvania v. Ritchie, 480 U.S. 39, 60 (1987);

see also LCrR 5.1(a) (“[T]he government shall make good-faith efforts to disclose [Brady]

information to the defense as soon as reasonably possible after its existence is known, so as to

enable the defense to make effective use of the disclosed information in the preparation of its case.”

(emphasis added)). The Court hereby admonishes the United States that it is bound by this Court’s

rulings regarding the definition of exculpatory information and the government’s obligation to

timely disclose any such exculpatory information. See United States v. Safavian, 233 F.R.D. 12,

16 (D.D.C. 2005) (“[T]he government must always produce any potentially exculpatory or

otherwise favorable evidence without regard to how the withholding of such evidence might be

viewed – with the benefit of hindsight – as affecting the outcome of trial.” In addition, to the extent

it has not already done so, the United States must disclose information that may be useful for

impeachment or may otherwise affect the credibility of any government witness (Giglio) –

including Lewis material – on or before April 24, 2023. See United States v. Celis, 608 F.3d 818,

835-36 (D.C. Cir. 2010). Giglio obligations are also ongoing. The United States may request a

protective order to preclude defense counsel from sharing Giglio information with Ms. Baez or

others.

   10. EXHIBIT LISTS. The parties shall exchange lists of exhibits they intend to use in their

cases-in-chief on or before April 7, 2022. The written exhibit lists must contain a brief description

of each exhibit. The parties shall file any objections to the admissibility of exhibits, to the extent

practicable, on or before April 12, 2023. All exhibits are to be marked in advance of trial and listed




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in order on the exhibit form obtained from the Courtroom Deputy Clerk. On or before May 1,

2023, counsel shall furnish opposing counsel with a copy of their pre-marked exhibits and shall

deliver to the Court two sets of binders containing their exhibit lists and copies of their pre-marked

exhibits.

   11. WITNESS LISTS. The parties shall exchange lists of witnesses intended to be called in

their cases-in-chief on or before April 24, 2023. On that date, the United States shall also provide

to Ms. Baez all Brady or Giglio material not previously disclosed pertaining to each witness on its

witness list. Counsel will not be limited to calling only those witnesses listed and will not be

required to call their witnesses in the sequence listed. In some cases, security concerns may justify

nonidentification of witnesses by the United States until shortly before they are called to testify.

In this situation, the United States will include the number of unidentified witnesses in its witness

list and separately identify those witnesses in a filing under seal. Defense counsel shall not publicly

disseminate the names of those witnesses.

       In summary, this case will proceed pursuant to the following schedule:


        Date                  Description


        November 4, 2022 Status Conference. See supra ¶ 2.

        November 10,          Motions hearing for any pretrial motions raising purely legal issues.
        2023                  See supra ¶ 4.

                              The parties shall file any motions in limine and Daubert motions.
        March 17, 2023
                              The parties shall disclose any expert witnesses. See supra ¶ 6.

                              The parties shall file oppositions to motions in limine and Daubert
                              motions. See supra ¶ 7.
        March 31, 2023
                              The United States shall provide its Rule 404(b) notice to Ms. Baez.
                              See supra ¶ 8.




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                 The parties shall file any replies in support of motions in limine and
April 5, 2023
                 Daubert motions. See supra ¶ 7.

April 7, 2023    The parties shall exchange exhibit lists. See supra ¶ 10.

                 The parties shall file any objections to the admissibility of exhibits,
April 12, 2023
                 to the extent practicable. See supra ¶ 10.

                 Motions hearing for any motions in limine and Daubert motions.
April 17, 2023
                 See supra ¶ 7.

April 21, 2023
                 Final Pretrial Conference. See supra ¶ 3.


                 The parties shall exchange witness lists. See supra ¶ 11.
                 The United States shall provide to Ms. Baez all Brady and Giglio
April 24, 2023   evidence not previously disclosed related to the witnesses on its
                 witness list, as well as any other Brady and Giglio information not
                 previously disclosed. See supra ¶¶ 9, 11.

                 The parties shall furnish opposing counsel with a copy of their pre-
May 1, 2023      marked exhibits and shall deliver to the Court two sets of exhibit
                 lists and pre-marked exhibits. See supra ¶ 10.

                 Trial will commence in Courtroom 29 in the William B. Bryant
May 8, 2023      Annex to the E. Barrett Prettyman Courthouse with opening
                 statements and will continue each weekday at 10:00 a.m. until
                 concluded. See supra ¶ 1.




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